Case: 23-2081     Document: 00118109508            Page: 1        Date Filed: 02/16/2024       Entry ID: 6623287




                      United States Court of Appeals
                                       For the First Circuit
                                      ____________________________
      No. 23-2081

                       JOZELIA MARIA DE OLIVEIRA RODRIGUES; E.C.D.O.R.,

                                                   Petitioners,

                                                        v.

                                MERRICK B. GARLAND, Attorney General,

                                                Respondent.
                                        _________________________

                                             ORDER OF COURT

                                          Entered: February 16, 2024
                                         Pursuant to 1st Cir. R. 27.0(d)

             The brief filed by petitioners Jozelia Maria De Oliveira Rodrigues and E.C.D.O.R. on
      February 2, 2024 is not in compliance with the following Federal Rules of Appellate Procedure
      and Local Rule of this court:

      •   1st Cir. R. 28.0(a)(1), requiring that the appellant include an addendum in the back of its brief,
          regardless of whether appellant has filed an appendix. The addendum must contain the
          judgments, decisions, rulings or orders appealed from, including supporting explanation (e.g.,
          a written or transcript opinion), and in addition, where the district court or agency whose
          decision is under review was itself reviewing or acting upon the decision of a lower-level
          decision-maker, that lower-level decision as well (e.g., a recommended decision by a
          magistrate judge or an initial decision by an administrative law judge). The petitioners' brief
          includes a document, labeled "Appendix," which contains the challenged Board's decision
          dated December 7, 2023, followed by another document, labeled "Addendum," which has
          another copy of the same challenged Board's decision dated December 7 , 2023. An
          appendix is a separate requirement which cannot be combined with a brief and must be filed
          in accordance with Fed. R. App. P. 30(a)-(b). The petitioners' addendum must be included
          in the back of their brief, and their addendum should be located directly after their brief.

              Petitioners Jozelia Maria De Oliveira Rodrigues and E.C.D.O.R. are ordered to file a
      conforming brief by February 23, 2024. The corrected brief must be served on all parties to the
      appeal, and the certificate of service must be updated to include the new date of service. The due
      date for respondent's brief shall run from service of the corrected brief, in accordance with Fed. R.
      App. P. 31.
Case: 23-2081   Document: 00118109508   Page: 2      Date Filed: 02/16/2024   Entry ID: 6623287




                                                  By the Court:

                                                  Maria R. Hamilton, Clerk

      cc:
      Lidice D. Samper Perdomo
      Oil
      Elizabeth M. Dewar
      Christopher George Gieger
